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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

    In re                                 §                                Chapter 11
                                          §
    HOUSTON REGIONAL SPORTS NETWORK, L.P. §                                Case No. 13-35998
                                          §
               Debtor.                    §


       ORDER GRANTING EMERGENCY MOTION OF PROPONENTS TO SEAL
    PROPONENTS’ MEMORANDUM OF LAW IN SUPPORT OF CONFIRMATION OF
     THE SECOND AMENDED CHAPTER 11 PLAN DATED SEPTEMBER 30, 2014, IN
           RESPECT OF HOUSTON REGIONAL SPORTS NETWORK, L.P.
                          (Related to Doc. No. ___)

            Upon Emergency Motion of Proponents to Seal Proponents’ Memorandum of Law in

Support of Confirmation of the Second Amended Chapter 11 Plan Dated September 30, 2014, In

Respect of Houston Regional Sports Network, L.P. (the “Motion”);1 and due and sufficient notice

of the Motion having been given; and it appearing that no other or further notice need be

provided; and upon the record herein; and after due deliberation and sufficient cause appearing

therefor:

            IT IS HEREBY ORDERED:

            1.      The Motion is GRANTED.

            2.      The Proponents are authorized to file the Proponents’ Confirmation Brief under

seal pursuant to the Stipulation and Agreed Order Governing the Production and/or Disclosure

of Confidential Plan Documents and Discovery Materials and Authorizing the Filing of Certain

Documents Under Seal (the “Protective Order”) (Doc. No. 492).

            3.      The Proponents must promptly file a proposed, redacted version of the

Proponents’ Confirmation Brief.


1
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.

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        4.       Any copy of the Proponents’ Confirmation Brief in the Court’s possession is

hereby sealed.

SIGNED this ___ day of_________, 2014.
                                                             __________________________________
                                                             THE HONORABLE MARVIN ISGUR
                                                             UNITED STATES BANKRUPTCY JUDGE




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